          Case 1:21-cr-00175-TJK Document 57 Filed 04/13/21 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-175
                                                   )
 ETHAN NORDEAN, et al.,                            ) Judge Timothy J. Kelly
                                                   )
        Defendants.                                )
                                                   )

     DEFENDANT NORDEAN’S NOTICE OF BRADY MATERIAL FILED BY THE
               GOVERNMENT IN ANOTHER CAPITOL CASE

       Defendant Ethan Nordean, through his counsel, files this notice of Brady material with

respect to Nordean that the government filed in a different Capitol case last night.

       On April 12, the government filed a motion to detain pretrial Defendant Christopher

Quaglin. United States v. Christopher Quaglin, 21-mj-355, ECF No. 8 (D.D.C. 2021). In the

motion, the government asserts that Quaglin shoves a U.S. Capitol Police officer around the

Lower West Terrace of the Capitol Building. Id., p. 4. The government informed the Court that

a surveillance video caught this moment on film. Id. It submitted that video to the Court as

“Exhibit B.” Id. The government then added, “Notably, one of the individuals he is seen

interacting with and who grabs Quaglin by the shoulder to stop him after he pushes the officer, is

Ethan Nordean.” Id. (emphasis added).

       Today, Nordean’s counsel requested a copy of the video from the government, which had

not been produced to the defense. The government provided a copy of the video to Nordean,

which he submits directly to chambers with Bates number “NORDEANPROD_00000003.mp3.”

In addition, Nordean notes that he does not know—or have any relationship with—Quaglin.




                                                                                                 1
          Case 1:21-cr-00175-TJK Document 57 Filed 04/13/21 Page 2 of 3




Quaglin was a protestor standing near Nordean in the crowd, but when the strangely-attired

Quaglin shoved the officer Nordean stopped him.

Dated: April 13, 2021                       Respectfully submitted.
                                            DAVID B. SMITH, PLLC

                                            /s/ David B. Smith
                                            David B. Smith (D.C. Bar No. 403068)
                                            108 N. Alfred St.
                                            Alexandria, VA 22314
                                            Phone:(703)548-8911
                                            Fax:(703)548-8935
                                            dbs@davidbsmithpllc.com

                                            Nicholas D. Smith (D.C. Bar No. 1029802)
                                            7 East 20th Street
                                            New York, NY 10003
                                            Phone: (917) 902-3869
                                            nds@davidbsmithpllc.com


                                     Certificate of Service

       I hereby certify that on the 13th day of April, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
                                                    David B. Smith, D.C. Bar No. 403068
                                                    David B. Smith, PLLC
                                                    108 North Alfred Street, 1st FL
                                                    Alexandria, Virginia 22314

                                                                                                2
Case 1:21-cr-00175-TJK Document 57 Filed 04/13/21 Page 3 of 3




                                 (703) 548-8911 / Fax (703) 548-8935
                                 dbs@davidbsmithpllc.com
                                 Counsel to Ethan Nordean




                                                                       3
